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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case
                                                                                                                 FILED

                                      UNITED STATES DISTRICT Co                                      TCLERK. U.S. DISTRICT COURT
                                         SOUTHERN DISTRICT OF CALIFORNIA                            SOU       ERN DISTRICT OF CALIFORNIA
                                                                                                    BY                           DEPUTY
             UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMI AL CASE
                                 v.                                 (For Offenses Committed On or After November 1, 1987)
                  ROBERT AGUILAR(l)
                                                                       Case Number:         16CRl005-BAS

                                                                    BENJAMIN CHEEKS
                                                                    Defendant's Attorney
REGISTRATION NO.                 56868298
D
IZI pleaded guilty to count{s)         ONE (l) OF THE INDICTMENT

    was found guilty on count{s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                        Count
Title & Section                   Nature of Offense                                                                    Number!s)
21 USC 846, 841(a)(1)             CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE                                                1




     The defendant is sentenced as provided in pages 2 through                3            of this judgment
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s)

D Count(s)                                                    is          dismissed on the motion ofthe United States.

      Assessment: $100.00
IZI


IZI   Fine waived            D Forfeiture pursuant to order filed                                                 , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                   March 13.2017

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                                                                    HO~
                                                                   UNITED STATES DISTRICT JUDGE
                                                                                                  ANT




                                                                                                                     16CRI DOS-BAS
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    DEFENDANT:                   ROBERT AGUILAR (1)                                                                           Judgment - Page 2 of 3
    CASE NUMBER:                 16CR 1005-BAS


                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:
FIVE (5) YEARS.


     The defendant shall report to the probation office within 72 hours from the date of sentencing.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of probation, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

           If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the defendant pay any such fine
     or restitution in accordance with the Schedule of Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                          STANDARD CONDITIONS OF PROBATION
     1)  the defendant shall not leave the judicial district without the pennission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow thc instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
         with such notification requirement.



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DEFENDANT:              ROBERT AGUILAR (1)                                                    Judgment - Page 3 of3
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                                  SPECIAL CONDITIONS OF PROBATION

     1. Not enter or reside in the Republic of Mexico without permission of the court or probation officer.

     2. Participate in a program of drug or alcohol abuse treatment, including drug testing and counseling, as
        directed by the probation officer. Allow for reciprocal release of information between the probation
        officer and the treatment provider. May be required to contribute to the costs of services rendered in an
        amount to be determined by the probation officer, based on ability to pay.

     3. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

     4. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
        Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
        contraband or evidence of a violation of a condition of release; failure to submit to a search may be
        grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.

     5. Shall not knowingly associate with any member, prospect, or associate of any gang, or club with a
        history of criminal activity, unless given permission by the probation officer.

     6. Shall not knowingly wear or possess any paraphernalia, insignia, clothing, photographs, or any other
        materials associated with a gang, unless given permission by the probation officer.

     7. Shall not knowingly loiter, or be present in locations known to be areas where gang members
        congregate, unless given permission by the probation officer.


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